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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA


     CITY OF CHARLESTON,

                         Plaintiff,

                            v.
                                                           Civil Action No. 2:20-cv-03579-RMG

      BRABHAM OIL COMPANY, INC.;
      COLONIAL GROUP, INC.; ENMARK
      STATIONS, INC.; COLONIAL
      PIPELINE COMPANY; PIEDMONT
      PETROLEUM CORP.; EXXON MOBIL
      CORPORATION; EXXONMOBIL OIL
      CORPORATION; ROYAL DUTCH
      SHELL PLC; SHELL OIL COMPANY;
      SHELL OIL PRODUCTS COMPANY
      LLC; CHEVRON CORPORATION;
      CHEVRON U.S.A. INC.; BP P.L.C.; BP
      AMERICA INC.; MARATHON
      PETROLEUM CORPORATION;
      MARATHON PETROLEUM
      COMPANY LP; SPEEDWAY LLC;
      MURPHY OIL CORPORATION;
      MURPHY OIL USA, INC.; HESS
      CORPORATION; CONOCOPHILLIPS;
      CONOCOPHILLIPS COMPANY;
      PHILLIPS 66; AND PHILLIPS 66
      COMPANY,
                    Defendants.

         STIPULATION TO SET BRIEFING SCHEDULES AND PAGE LIMITS

       WHEREAS, on September 9, 2020, Plaintiff, the City of Charleston (“Plaintiff”), filed a

137-page complaint against 24 Defendants (“Defendants”) in the Court of Common Pleas, Ninth

Judicial Circuit, No. 2020-CP-10-03975, Charleston County, State of South Carolina;

       WHEREAS, on October 9, 2020, Defendants Chevron Corp. and Chevron U.S.A., with the

consent of all Defendants, timely removed this action from South Carolina state court to this Court.

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The removal notice is 128 pages, with an additional 823 pages of exhibits (excluding a copy of

Plaintiff’s complaint);

        WHEREAS, Plaintiff filed a Motion to Remand on February 26, 2021, Dkt. 103, which

Defendants opposed on April 7, 2021, Dkt. 111;

        WHEREAS, on August 22, 2022, the Court “direct[ed] the parties to submit renewed

briefing” on the Motion to Remand, and to do so “in accordance to an agreed schedule,” Dkt. 134;

        WHEREAS, the Parties have met and conferred and agreed on a briefing schedule;

        WHEREAS, this stipulation does not operate as an admission of any factual allegation or

legal conclusion and is submitted subject to and without waiver of any right, defense, affirmative

defense, claim, or objection, including lack of subject matter jurisdiction, or lack of personal

jurisdiction, insufficient process, or insufficient service of process;

        NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED THAT THE

PARTIES SHALL JOINTLY REQUEST AN ORDER OF THE COURT PROVIDING:

        1.      Plaintiff’s Renewed Motion to Remand, which shall not exceed 35 pages, excluding

any exhibits and other supporting materials, shall be due by September 27, 2022.

        2.      Defendants shall coordinate their efforts to file a single Renewed Consolidated

Opposition to Plaintiff’s Renewed Motion to Remand, which shall be due by November 1, 2022,

and shall not exceed 35 pages, excluding any exhibits and other supporting materials.

        3.      Plaintiff’s Reply in support of its Renewed Motion to Remand shall be due by

November 22, 2022, and shall not exceed 15 pages.

        4.      Defendants do not, by agreeing to the procedures herein to have the Court consider

and adjudicate the Renewed Motion to Remand prior to any further proceedings, waive their

objections to personal jurisdiction. Plaintiff agrees that it will not assert in federal or state court that



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there has been any waiver of personal jurisdiction because of the Parties’ agreement to have the

Court consider and adjudicate the Renewed Motion to Remand prior to the filing of Motions to

Dismiss.

       5.      If the Court denies Plaintiff’s Renewed Motion to Remand, Defendants will file any

Motions to Dismiss within 60 days of an Order denying the Renewed Motion to Remand. The

Parties will also promptly meet and confer regarding an appropriate briefing schedule for

Oppositions and Replies and page limits for Motions to Dismiss briefing and will endeavor to

jointly submit a proposal to the Court within 10 days of the Court’s order denying Plaintiff’s

Renewed Motion to Remand. If the Parties are not able to agree on a proposed briefing schedule,

they will submit separate proposals to the Court. In the event the Renewed Motion to Remand is

granted, the Parties have agreed to request the same deadlines from the South Carolina Court of

Common Pleas.

       6.      None of the properly served Defendants are required to file Answers or Motions to

Dismiss or otherwise respond to the Complaint until, and in accordance with, the entry by the Court

of a schedule for briefing Defendants’ Motions to Dismiss. Defendants’ obligation to respond to

Rule 26.01 Interrogatories shall be deferred until the Court has ruled on Plaintiff’s Renewed Motion

to Remand.

       7.       Defendants reserve the right to seek an extension of time to respond to the

Complaint and the Parties reserve the right to request that the Court stay proceedings (and reserve

the same rights as to the South Carolina Court of Common Pleas in the event the Renewed Motion

to Remand is granted).




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       8.     Parties also request that the deadline to serve Rule 26(a) Initial Disclosures and the

issuance of a Rule 16(b) Scheduling Order be stayed until after the Court has ruled on the Renewed

Motion to Remand.


                                                    Respectfully submitted,

  Dated: September 1, 2022                          By: /s/ Joel H. Smith
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